
658 S.E.2d 485 (2008)
In the Matter of J.G., (a.k.a J.M.G. and J.M.S.) appealed by Guilford County DSS.
No. 586P07.
Supreme Court of North Carolina.
January 24, 2008.
James A. Dickens, for Guilford County DSS.
Lewis Pitts, for Juvenile.
Margaret S. Rowlett, Greensboro, for Guardian ad Litem.
Prior report: ___ N.C.App. ____, 652 S.E.2d 266.

ORDER
Upon consideration of the petition filed on the 11th day of December 2007 by Petitioner (Guilford County DSS) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 24th day of January 2008."
